                                                                                    Electronically Filed - St Louis County - May 05, 2022 - 08:52 AM
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                                                                   22SL-CC02473

              IN THE CIRCUIT COURT FOR ST. LOUIS COUNTY
                          STATE OF MISSOURI

JEANETTE VENTRONE, ANGELA WILLIAMS,     )
PHOENIX PEREIRA, RAMEAK SMITH, APRIL    )
MOORE, and ASHLEE BACON CANTRELL,       )
                                        )
       Plaintiffs,                      )
                                        )
v.                                      )    Case No. ____________________
                                        )
WEBSTER UNIVERSITY,                     )
Serve:                                  )
   Dr. Elizabeth J. Stroble, Reg. Agent )
   or other person in charge            )
   470 East Lockwood Avenue             )
   St. Louis, MO 63119                  )
                                        )
       Defendant.                       )

                                    PETITION

      COME NOW Plaintiffs, Jeanette Ventrone, Angela Williams, Phoenix

Pereira, Rameak Smith, April Smith, and Ashlee Cantrell, for their Petition

against Defendant, Webster University, and state:

                            GENERAL ALLEGATIONS

      1.     Plaintiffs are citizens and residents of the State of Florida.

      2.     Defendant is a non-profit corporation organized and existing under

and by virtue of the laws of the State of Missouri, which maintains its principal

office and place of business at 470 East Lockwood Avenue, St. Louis County,

St. Louis, Missouri. It is a citizen of the State of Missouri.

      3.     Defendant is in the business of providing educational services to

members of the public, both in-person and online throughout the United

States.

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                                                                    EXHIBIT A
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      4.      During August 2020, Plaintiffs enrolled in Webster University and

were scheduled to begin classes at the St. Petersburg, Florida campus, in a

hybrid program for students in Florida in a program titled “MA in Counseling

with an emphasis in Clinical Mental Health Counseling”.

      5.      The hybrid program consisted of online classes with some in-

person classes. It was a hybrid program between online and in-person

attendance.

      6.      Webster University represented that its MA in Counseling with an

emphasis in Clinical Mental Health Counseling program (hereinafter “Mental

Health Program”) was accredited by the Council for the Accreditation of

Counseling and Related Educational Programs (“CACREP”) at its Webster

Groves, Missouri, Charleston, South Carolina, Columbia, South Carolina, and

Myrtle Beach, South Carolina campuses.

      7.      Webster University enrolled Plaintiffs for studies at its Myrtle

Beach, South Carolina campus, representing to Plaintiffs that by enrolling

there they would receive a degree with CACREP accreditation, even though

Plaintiffs would be attending class online and at the South Florida campus.

      8.      After Plaintiffs enrolled, they received an email from Webster

University stating that Plaintiffs would be attending only online because all of

the Florida campuses were closed due to low enrollment that resulted from

COVID-19.

      9.      Plaintiffs plan to pursue careers which requires a CACREP

accredited degree.

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      10.     On August 26, 2020, Plaintiffs received an email from the director

of the online counseling program for Webster University, Dr. Diane O’Brien

(“Dr. O’Brien”) stating that Webster University had received CACREP

accreditation as of July 2020.

      11.     Plaintiffs would not have enrolled in any of the four (4) nine-week

terms provided by Webster University between August 2020 and July 2021 if

they had known that the hybrid mental health program was not CACREP

accredited.

      12.     Plaintiffs, collectively, paid Webster University more than

$138,000, for tuition for the four (4) nine-week terms between August 2020

and July 2021, with each Plaintiff paying about $23,000.

      13.     On April 29, 2021, Dr. O’Brien sent an email to Baycare stating

that the hybrid/online mental health program for the Webster Grove campus

was only under review for accreditation by CACREP.

      14.     On April 30, 2021, Plaintiff Jeanette Ventrone emailed Dr. O’Brien

stating that Plaintiffs were worried that the hybrid/online program was only

under review for accreditation by CACREP, and had not been accredited. Dr.

O’Brien responded: “Jeanette, no need to worry. Our accreditation is fine.

Just a couple of fine points that needed clarification. This will not affect you.”

      15.     On June 29, 2021, Dr. O’Brien sent an email to Plaintiffs,

collectively, requesting that the students attend a hybrid program summit

Zoom meeting on July 8, 2021 at 6:00 p.m. EST. Plaintiffs were led to believe

that the summit meeting was about fall classes and about entering practicums.

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      16.   At the online Zoom meeting of July 8, 2021, Dr. O’Brien informed

Plaintiffs that accreditation for the hybrid/online mental health program was

only under review, not that accreditation was a fact.

      17.   Plaintiffs did not enroll for the fall classes at Webster University in

its Mental Health Counseling Program, but instead transferred to other

institutions which have CACREP accredited programs for Mental Health

Counseling. Those other institutions accepted only a small part of Plaintiffs’

credits with Webster University because Webster University was not CACREP

accredited for the hybrid program Webster University induced Plaintiffs to

enroll in through the false representation that the hybrid program was

CACREP accredited.

                                 COUNT I
     ALL PLAINTIFFS AGAINST WEBSTER UNIVERSITY FOR COMMON LAW FRAUD

      18.   Plaintiffs reallege and incorporate herein by reference paragraphs 1

through 17 as set forth above.

      19.   At all times relevant, Webster University was acting through its

employees and agents, including but not limited to Dr. O’Brien, Dr. Stacy

Henning (“Dr. Henning”), Dr. Musangali, Allison Labaali and Molly Stehn.

      20.   The representation that the hybrid program was accredited by

CACREP was false when made by Webster University and was known by it to

be false. Webster University intentionally and falsely represented that its

hybrid program for Florida students who would be enrolled in the Myrtle

Beach, South Carolina campus was accredited by CACREP, while concealing



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the fact that Webster University had merely applied for accreditation by

CACREP.

      21.    A degree by a mental health counseling program, which is not

accredited by CACREP, is without value, while a degree by a mental health

counseling program accredited by CACREP program has a value in excess of

the amount of tuition paid, in this case, $23,000, per Plaintiff.

      22.    Each Plaintiff reasonably relied on the representation by Webster

University that its hybrid program was accredited by CACREP.

      23.    As a direct result of the false representation by Webster University

that its hybrid program was accredited by CACREP, each Plaintiff has been

damaged in a sum in excess of $23,000.

      24.    Each Plaintiff is entitled to recover interest at the rate of 9% per

annum from the date they paid tuition until the date of judgment.

      25.    Once the Defendant has been served with Summons and this case

assigned to a judge, Plaintiffs will move the Court for leave to amend their

Petition to include a claim for punitive damages.

      WHEREFORE, under Count I, Plaintiffs, Jeanette Ventrone, Angela

Williams, Phoenix Pereira, Rameak Smith, April Smith, and Ashlee Cantrell, for

pray for judgment against Defendant, Webster University, in a sum in excess of

$23,000 for each Plaintiff, separately, for total damages for all six Plaintiffs,

collectively, in a sum in excess of $138,000, plus interest on $23,000 from the

date of payment, for each Plaintiff, until judgment is entered, plus court costs.




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                                COUNT II
 ALL PLAINTIFFS AGAINST WEBSTER UNIVERSITY FOR VIOLATIONS OF THE MISSOURI
                       MERCHANDISING PRACTICES ACT

      26.   Plaintiffs reallege and incorporate herein by reference paragraphs 1

through 17 as set forth above.

      27.   At all times relevant, Webster University was acting through its

employees and agents, including but not limited to Dr. O’Brien, Dr. Stacy

Henning, Dr. Musangali, Allison Labaali and Molly Stehn.

      28.   Plaintiffs paid tuition and purchased the mental health program

advertised by Webster University for personal, household and family purposes.

      29.   The Missouri Merchandising Practices Act, RSMo §407.010 to

§407.025, makes it an unlawful practice to act, use or employ any deception,

fraud, false pretense, false promise, misrepresentation, unfair practice or the

concealment, suppression or omission of any material fact in connection with

the sale of any merchandise and services in trade or commerce.

      30.   Defendant, Webster University, engaged in trade or commerce

within the State of Missouri by offering for sale and selling educational

programs including mental health counseling programs from its principal office

and campus in St. Louis County, Missouri.

      31.   Defendant, Webster University, engaged in deceptive acts in

violation of the Missouri Merchandising Practices Act by representing that the

mental health counseling program sold to Plaintiffs was CACREP accredited

while concealing the fact that it had merely applied for CACREP accreditation

for the hybrid program.

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      32.   As a direct result of these violations of the Missouri Merchandising

Practices Act, each Plaintiff sustained damages in a sum in excess of $23,000,

the tuition paid for one (1) year of classes (four terms) in Defendant’s mental

health counseling program.

      33.   Each Plaintiff has incurred, and will incur, attorney’s fees in a sum

in excess of $10,000 per Plaintiff. RSMo §407.025 provides that each Plaintiff

may recover, from Defendant, Webster University, their attorney’s fees incurred

in prosecuting this action.

      34.   Each Plaintiff is entitled to recover interest at the rate of 9% per

annum from the date they paid tuition until the date of judgment.

      35.   Once Defendant, Webster University, has been served with

Summons and this case assigned to a judge, Plaintiffs will move the Court for

leave to amend their Petition to include a claim for punitive damages. RSMo

§407.020 provides that each Plaintiff may recover punitive damages from

Defendant, Webster University, for intentional, malicious, willful, wanton, and

outrageous conduct.

      WHEREFORE, under Count II, Plaintiffs, Jeanette Ventrone, Angela

Williams, Phoenix Pereira, Rameak Smith, April Smith, and Ashlee Cantrell, for

pray for judgment against Defendant, Webster University, in a sum in excess of

$23,000 for each Plaintiff, separately, for total compensatory damages in a

sum, collectively, in excess of $138,000, plus $10,000 for each Plaintiff for

attorney’s fees, plus interest on $23,000 from the date of payment, for each

Plaintiff, until judgment is entered, plus court costs.

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                                       /s/ David M. Duree
                                       David M. Duree, MBE 21003
                                       David M. Duree & Associates, P.C.
                                       312 South Lincoln Avenue
                                       O’Fallon, IL 62269
                                       618.628.0186 (T)/618.628.0259 (F)
                                       law@dmduree.net
                                       Attorneys for Plaintiff Jeanette
                                       Ventrone




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                                                                                                                          22SL-CC02473
In the
CIRCUIT COURT                                                                                                           ┌                               ┐
                                                                                                                                For File Stamp Only
Of St. Louis County, Missouri
                                                                                May 4, 2022
                                                                               _________________________
__________________________________________
 Jeanette Ventrone, et al.                                                     Date
Plaintiff/Petitioner
                                                                               _________________________
                                                                               Case Number
vs.
                                                                               _________________________
 Webster University
__________________________________________                                     Division

                                                                                                                        └                               ┘
Defendant/Respondent




                        REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiffs, Jeanette Ventrone, et al.                   pursuant
                                                                    Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Hurst Investigation Services, Inc., 144 Lincoln Place Court, Suite #4, Belleville, IL 62221 618.310.1500
        Name of Process Server                                                Address                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                                                Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                                                Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:          Webster University                                                  SERVE:
        ____________________________________________
         c/o Dr. Elizabeth J. Stroble, Registered Agent or other person in charge           ____________________________________________
        Name                                                                                Name
         470 East Lockwood Avenue
        ____________________________________________                                        ____________________________________________
        Address                                                                             Address
        ____________________________________________
         St. Louis, MO 63119                                                                ____________________________________________
        City/State/Zip                                                                      City/State/Zip

        SERVE:                                                                              SERVE:
        ____________________________________________                                        ____________________________________________
        Name                                                                                Name
        ____________________________________________                                        ____________________________________________
        Address                                                                             Address
        ____________________________________________                                        ____________________________________________
        City/State/Zip                                                                      City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                                        /s/ David M. Duree
                                                                                            ___________________________________________
                                                                                            Signature of Attorney/Plaintiff/Petitioner
                                                                                             21003                        law@dmduree.net
                                                                                            ___________________________________________
        By ________________________________________                                         Bar No.
            Deputy Clerk                                                                     312 South Lincoln Avenue, O'Fallon, IL 62269
                                                                                            ___________________________________________
                                                                                            Address
        ___________________________________________                                         ___________________________________________
                                                                                             (618) 628-1086                    (618) 628-0259
        Date                                                                                Phone No.                                     Fax No.


        CCADM62-WS            Rev. 07/19
                                                                                     Electronically Filed - St Louis County - May 05, 2022 - 08:52 AM
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Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

            This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

             (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
https://wp.stlcountycourts.com > forms.

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


CCADM62-WS    Rev. 07/19
                                                                                                                                                            Electronically Filed - St Louis County - May 05, 2022 - 08:52 AM
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                                                                                                                          22SL-CC02473
In the
CIRCUIT COURT                                                                                                           ┌                               ┐
                                                                                                                                For File Stamp Only
Of St. Louis County, Missouri
                                                                                May 4, 2022
                                                                               _________________________
__________________________________________
 Jeanette Ventrone, et al.                                                     Date
Plaintiff/Petitioner
                                                                               _________________________
                                                                               Case Number
vs.
                                                                               _________________________
 Webster University
__________________________________________                                     Division

                                                                                                                        └                               ┘
Defendant/Respondent




                        REQUEST FOR APPOINTMENT OF PROCESS SERVER
        Comes now _______________________________________________________,
                   Plaintiffs, Jeanette Ventrone, et al.                   pursuant
                                                                    Requesting Party
        to Local Rule 28, and at his/her/its own risk requests the appointment of the Circuit Clerk of
        ___________________________________________________________________________
         Hurst Investigation Services, Inc., 144 Lincoln Place Court, Suite #4, Belleville, IL 62221 618.310.1500
        Name of Process Server                                                Address                                                       Telephone

        ___________________________________________________________________________
        Name of Process Server                                                Address or in the Alternative                                 Telephone

        ___________________________________________________________________________
        Name of Process Server                                                Address or in the Alternative                                 Telephone

        Natural person(s) of lawful age to serve the summons and petition in this cause on the below
        named parties. This appointment as special process server does not include the authorization
        to carry a concealed weapon in the performance thereof.

        SERVE:          Webster University                                                  SERVE:
        ____________________________________________
         c/o Dr. Elizabeth J. Stroble, Registered Agent or other person in charge           ____________________________________________
        Name                                                                                Name
         470 East Lockwood Avenue
        ____________________________________________                                        ____________________________________________
        Address                                                                             Address
        ____________________________________________
         St. Louis, MO 63119                                                                ____________________________________________
        City/State/Zip                                                                      City/State/Zip

        SERVE:                                                                              SERVE:
        ____________________________________________                                        ____________________________________________
        Name                                                                                Name
        ____________________________________________                                        ____________________________________________
        Address                                                                             Address
        ____________________________________________                                        ____________________________________________
        City/State/Zip                                                                      City/State/Zip

        Appointed as requested:
        JOAN M. GILMER, Circuit Clerk                                                        /s/ David M. Duree
                                                                                            ___________________________________________
                                                                                            Signature of Attorney/Plaintiff/Petitioner
                                                                                             21003                        law@dmduree.net
                                                                                            ___________________________________________
                  /s/Jeremy Smith
        By ________________________________________                                         Bar No.
            Deputy Clerk                                                                     312 South Lincoln Avenue, O'Fallon, IL 62269
                                                                                            ___________________________________________
                                                                                            Address
                     5/6/2022
        ___________________________________________                                         ___________________________________________
                                                                                             (618) 628-1086                    (618) 628-0259
        Date                                                                                Phone No.                                     Fax No.


        CCADM62-WS            Rev. 07/19
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Local Rule 28. SPECIAL PROCESS SERVERS

      (1) Any Judge may appoint a Special Process Server in writing in
accordance with the law and at the risk and expense of the requesting party except
no special process server shall be appointed to serve a garnishment [except as
allowed by Missouri Supreme Court Rule 90.03(a)].

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authorization to carry a concealed weapon in the performance thereof.

      (2) The Circuit Clerk may appoint a natural person other than the Sheriff to
serve process in any cause in accordance with this subsection;

             (A)    Appointments may list more than one server as alternates.

           (B) The appointment of a person other than the Sheriff to serve
process shall be made at the risk and expense of the requesting party.

            (C) Any person of lawful age, other than the Sheriff, appointed to
serve process shall be a natural person and not a corporation or other business
association.

            (D) No person, other than the Sheriff, shall be appointed to serve any
order, writ or other process which requires any levy, seizure, sequestration,
garnishment, [except as allowed by Missouri Supreme Court Rule 90.03(a)], or
other taking.

             (E) Requests for appointment of a person other than the Sheriff to
serve process shall be made on a “Request for Appointment of Process Server”
electronic form, which may be found on the Court’s Web Site,
https://wp.stlcountycourts.com > forms.

            (F) This appointment as Special Process Server does not include the
authorization to carry a concealed weapon in the performance thereof.

             SERVICE RETURN

            Any service by the St. Louis County Sheriff’s Office shall be scanned
into the courts case management system. Any service by another Sheriff or a
Special Process Server or any other person authorized to serve process shall
return to the attorney or party who sought service and the attorney shall file the
return electronically to the Circuit Clerk.


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             IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 22SL-CC02473
 JOSEPH L. WALSH III
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address
 JEANETTE VENTRONE                                              DAVID M DUREE
                                                                312 SOUTH LINCOLN AVENUE
                                                                P.O. BOX 1416
                                                          vs.   O'FALLON, IL 62269
 Defendant/Respondent:                                          Court Address:
 WEBSETER UNIVERSITY                                            ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
 CC Other Tort                                                  CLAYTON, MO 63105                                                    (Date File Stamp)

                                                              Summons in Civil Case
     The State of Missouri to: WEBSETER UNIVERSITY
                                      Alias:
  RAGT ELIZABETH J. STROBLE
  470 EAST LOCKWOOD AVENUE
  ST. LOUIS, MO 63119

        COURT SEAL OF                       You are summoned to appear before this court and to file your pleading to the petition, a copy of
                                      which is attached, and to serve a copy of your pleading upon the attorney for Plaintiff/Petitioner at the
                                      above address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to
                                      file your pleading, judgment by default may be taken against you for the relief demanded in the petition.
                                            SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                     notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739, email at SLCADA@courts.mo.gov,
                                     or through Relay Missouri by dialing 711 or 800-735-2966, at least three business days in advance of the court
      ST. LOUIS COUNTY               proceeding.
                                        06-MAY-2022                                            ______________________________________________
                                         Date                                                                       Clerk
                                       Further Information:
                                       JS
                                                             Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within thirty days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
          _____________________________________________a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and a copy of the petition to
          ______________________________________________________ (name) _____________________________________________(title).
         other __________________________________________________________________________________________________________.
    Served at _______________________________________________________________________________________________________________ (address)
    in _______________________________ (County/City of St. Louis), MO, on ________________________ (date) at ____________________ (time).
     ____________________________________________                                    _____________________________________________
                     Printed Name of Sheriff or Server                                                   Signature of Sheriff or Server
                                    Must be sworn before a notary public if not served by an authorized officer:
                                    Subscribed and sworn to before me on _____________________________________ (date).
                                    My commission expires: __________________________             _____________________________________________
            (Seal)                                                        Date                                        Notary Public




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-4108            1           Rule 86.05; 523.030 RSMo
            Case: 4:22-cv-00513-SPM Doc. #: 1-1 Filed: 05/11/22 Page: 14 of 16 PageID #: 19
     Sheriff’s Fees, if applicable
     Summons                       $
     Non Est                       $
     Sheriff’s Deputy Salary
     Supplemental Surcharge        $   10.00
     Mileage                       $                   (______ miles @ $.______ per mile)
     Total                         $
     A copy of the summons and a copy of the petition must be served on each Defendant/Respondent. For methods of service on all classes of
     suits, see Supreme Court Rule 54.




OSCA (7-99) SM40 (SMCC) For Court Use Only: Document ID# 22-SMCC-4108       2          Rule 86.05; 523.030 RSMo
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                        THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



Purpose of Notice

   As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
However, most lawsuits are settled by the parties before a trial takes place. This is often true even when
the parties initially believe that settlement is not possible. A settlement reduces the expense and
inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used early
in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services would be
helpful in your case.

Your Rights and Obligations in Court Are Not Affected By This Notice

    You may decide to use an alternative dispute resolution procedure if the other parties to your case
agree to do so. In some circumstances, a judge of this court may refer your case to an alternative dispute
resolution procedure described below. These procedures are not a substitute for the services of a lawyer
and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you have
obligations and deadlines which must be followed whether you use an alternative dispute resolution
procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A RESPONSE
ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU CHOOSE TO
PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

Alternative Dispute Resolution Procedures

   There are several procedures designed to help parties settle lawsuits. Most of these procedures
involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
resolution and is not partial to any party. The services are provided by individuals and organizations who
may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures are:

    (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person or a
panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not binding and
simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically less formal than
a trial, is usually shorter, and may be conducted in a private setting at a time mutually agreeable to the
parties. The parties, by agreement, may select the arbitrator(s) and determine the rules under which the
arbitration will be conducted.

   (2) Mediation: A process in which a neutral third party facilitates communication between the parties to
promote settlement. An effective mediator may offer solutions that have not been considered by the
parties or their lawyers. A mediator may not impose his or her own judgment on the issues for that of the
parties.


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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 105 South Central Ave., 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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